                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN


WILLIAM FEEHAN,

                Plaintiff,

      v.                                     Case No. 20-CV-1771

WISCONSIN ELECTIONS
COMMISSION, and its members ANN S.
JACOBS, MARK L. THOMSEN, MARGE
BOSTELMAN, JULIE M. GLANCEY,
DEAN KNUDSON, ROBERT F.
SPINDELL, JR., in their official
capacities, GOVERNOR TONY EVERS,
in his official capacity,

                Defendants.


      DEFENDANTS WISCONSIN ELECTIONS COMMISSION
            AND ITS MEMBERS’ SUBMISSION OF
     UNREPORTED AUTHORITY PURSUANT TO CIVIL L.R. 7(J)


      Defendants Wisconsin Elections Commission, Ann S. Jacob, Mark L.

Thomsen, Marge Bostelman, Julie M. Glancey, Dean Knudson, and Robert F.

Spindell, Jr., by their attorneys, and pursuant to Civil L. R. 7(j), hereby submit

the following unreported authority cited in Defendant Commission and

Commissioner’s Reply in Support of Motion to Dismiss.

           1.      King v. Whitmer, No. 20-13134, 2020 WL 7134198 (E.D. Mi.
                   December 7, 2020);




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  2.    Bognet v. Sec’y Commonwealth of Pennsylvania, No. 20-3214,
        2020 WL 6686120 (3d. Cir. Nov. 13, 2020)– (previously filed at
        Dkt. 58-4);

  3.    Donald J. Trump for President, Inc. v. Boockvar,
        No. 20-CV-966, 2020 WL 5997680 (W.D. Pa. Oct. 10, 2020)–
        (previously filed at Dkt. 58-5)

  4.    Hotze v. Hollins, No. 4:20-cv-03709, 2020 WL 6437668 (S.D.
        Tex. Nov. 2, 2020);

  5.    Massey v. Coon, No. 87-3768, 1989 WL 884 (9th Cir. Jan. 3,
        1989)

  6.    Aguila Mgmt. LLC v. Int’l Fruit Genetics LLC,
        No. CV-19-00173-PHX-DJH, 2020 WL 736303 (D. Ariz. Feb.
        13, 2020);

  7.    Solow Bldg. Co., LLC v. Nine West Group, Inc.,
        No. 00 Civ. 7685(DC), 2001 WL 736794 (S.D.N.Y. June 29,
        2001)


Dated this 9th day of December, 2020.

                              Respectfully submitted,

                              JOSHUA L. KAUL
                              Attorney General of Wisconsin

                              Electronically signed by:

                              s/ S. Michael Murphy
                              S. MICHAEL MURPHY
                              Assistant Attorney General
                              State Bar #1078149


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